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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

CATHERNINE ALEXANDER,                       )       CASE NO. 18-CV-966-SMY
                                            )
              Plaintiff,                    )
       vs.                                  )
                                            )
TAKE-TWO INTERACTIVE                        )
SOFTWARE, INC., et al.,                     )
              Defendants.                   )

                                     MINUTES OF COURT

DATE: January 24, 2022               LOCATION: Benton

PRESENT: HONORABLE STACI M. YANDLE, U. S. DISTRICT JUDGE

DEPUTY CLERK: Jamie Melson                  COURT REPORTER: Chris LaBuwi

COUNSEL FOR PLAINTIFF:       Seth Crompton, Anthony Friedman, Paul Tahan, and Antony Simon

COUNSEL FOR DEFENDANTS: Dale Cendali, Michael Nester, Patrick Arnett, Christopher Ilardi,
Miranda Means, Joshua Simmons, Curtis Kraski

PROCEEDINGS: Final Pretrial Conference

       All parties present via video as noted above.
       Final Pretrial Conference is reset for September 14, 2022 at 9:30 a.m. via video. Jury
       Trial is set for September 26, 2022 at 9:00 a.m. in East St. Louis.
       The Court issued rulings and gave instructions regarding submitting the proposed
       final pretrial order.
       Order to enter.
